      Case 3:16-md-02741-VC Document 14217 Filed 11/17/21 Page 1 of 12




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                          UNITED STATES DISTRICT COURT

                       NORTHERN DISTRICT OF CALIFORNIA

IN RE: ROUNDUP PRODUCTS                     )   MDL No. 2741
LIABILITY LITIGATION                        )
                                            )   Case No. 3:16-md-02741-VC
                                            )
THIS DOCUMENT RELATES TO:                   )   DEFENDANT MONSANTO COMPANY’S
                                            )   OPPOSITION TO PLAINTIFF’S MOTION
Danielle Harris, individually and on behalf )   TO REMAND HARRIS CASE [filed with
of the Estate of Theresa Wilson v. Monsanto )   Declaration of Eric Lasker]
Co., et al.,                                )
                                            )   Date:      December 9, 2021
Case No. 3:21-cv-07738-VC                   )   Time:      10:00 a.m.
                                            )   Courtroom: 4




            MONSANTO’S OPPOSITION TO MOTION TO REMAND HARRIS CASE
                       3:16-md-02741-VC & 3:21-cv-07738-VC
       Case 3:16-md-02741-VC Document 14217 Filed 11/17/21 Page 2 of 12



                      INTRODUCTION AND ISSUES TO BE DECIDED

       Monsanto Company (“Monsanto”) properly removed this case by presenting evidence –

declarations, Plaintiff Fact Sheet responses, and Plaintiff’s sworn interrogatory answers – in its

Notice of Removal, ECF No. 1, establishing that Plaintiff fraudulently joined three non-diverse

defendants because none of them had any involvement with or connection to the Roundup®-

branded herbicides allegedly used by Decedent Theresa Wilson. Plaintiff’s Motion to Remand

(“Remand Motion”), ECF No. 6, fails to present any meritorious arguments that these defendants

were not fraudulently joined.

       First, Monsanto’s fraudulent joinder showings regarding Wilbur-Ellis Nutrition, LLC,

formerly known as Wilbur-Ellis Feed, LLC (“Wilbur-Ellis Nutrition/Feed”), and Wilbur-Ellis

Company track the same evidence-based showings that this Court accepted when denying remand

motions in other Roundup® lawsuits. Although Plaintiff’s counsel also represented the plaintiffs

at issue in those remand-denial rulings, the Remand Motion asserts the same arguments that this

Court rejected in those rulings – without even acknowledging those on-point rulings. For the

same reasons stated in those rulings, the Court should reject Plaintiff’s arguments regarding

Wilbur-Ellis Nutrition/Feed and Wilbur-Ellis Company. Likewise, Plaintiff’s recycled, baseless

argument regarding “John Doe” defendants should be denied for the same reason discussed in the

Court’s prior remand-denial rulings.

       Second, Plaintiff also misses the mark by claiming that she did not fraudulently join the

non-diverse retailer defendant, Standard 5-10-25 Cent Stores, d/b/a Laurel Ace Hardware

(“Laurel Ace”). Monsanto’s fraudulent joinder argument was based on her sworn interrogatory

answer, which stated that Decedent bought Roundup®-branded herbicides from different stores

and did not identify Laurel Ace as one of the stores that sold Roundup®-branded herbicides to her.

Weeks after Monsanto filed the Notice of Removal based on Plaintiff’s pre-removal sworn
                                         1
              MONSANTO’S OPPOSITION TO MOTION TO REMAND HARRIS CASE
                         3:16-md-02741-VC & 3:21-cv-07738-VC
       Case 3:16-md-02741-VC Document 14217 Filed 11/17/21 Page 3 of 12



interrogatory answer, Plaintiff responded by serving an “amended” interrogatory answer that – lo

and behold – states that Laurel Ace sold Roundup®-branded herbicides to Decedent. But this

obvious attempt to manipulate the process – by Plaintiff’s counsel with a history of dismissing

non-diverse retailer defendants before trial in other Roundup® cases – fails to deprive this Court

of diversity jurisdiction. As another court held when rejecting a similar forum-manipulation

gambit in a Roundup® lawsuit, see Fazio v. Monsanto Co., No: 2:19-cv-826-FtM-29NPM, 2019

WL 6713276 (M.D. Fla. Dec. 10, 2019) (denying remand motion), denying motion for

reconsideration, 2019 WL 7372504 (M.D. Fla. Dec. 31, 2019), this Court should disregard

Plaintiff’s post-removal amendment and rely on Plaintiff’s pre-removal sworn statement to hold

that Laurel Ace has been fraudulently joined.1

               FACTUAL BACKGROUND AND PROCEDURAL HISTORY

       In January 2021, Plaintiff filed this lawsuit against Monsanto, seeking damages for non-

Hodgkin’s lymphoma allegedly caused by Roundup®-branded herbicides. E.g., Compl. ¶¶ 17-26

(attached to Notice of Removal as Exhibit 1, ECF No. 1-1). The Complaint also asserts claims

against Wilbur-Ellis Company and Wilbur-Ellis Nutrition/Feed – referring to them collectively as

“Wilbur-Ellis,” id. ¶¶ 29-30 – albeit based on mere information and belief, id. ¶¶ 30, 109. The

Complaint asserts claims against Laurel Ace, based on the “information and belief” allegation that

Laurel Ace sold Roundup®-branded herbicides to Decedent. Id. ¶ 9.

       On July 28, 2021, Monsanto served interrogatories on Plaintiff, including one that asked

her to identify where Decedent had purchased Roundup®-branded herbicides. On September 3,


1
 On the same day that Monsanto removed this case, Monsanto also removed three other
Roundup® cases to this Court, see Kross v. Monsanto Co., No. 3:21-cv-07730-VC; Garff v.
Monsanto Co., No. 3:21-cv-07728-VC; Oswald v. Monsanto Co., No. 3:21-cv-07729-VC. The
same counsel who represent Plaintiff here also represent the plaintiffs in those cases. They filed
essentially the same remand motions in this case and in those cases. Monsanto is filing, this same
date, similar oppositions to those motions.
                                        2
             MONSANTO’S OPPOSITION TO MOTION TO REMAND HARRIS CASE
                        3:16-md-02741-VC & 3:21-cv-07738-VC
       Case 3:16-md-02741-VC Document 14217 Filed 11/17/21 Page 4 of 12



2021, Plaintiff served responses to those interrogatories, including an answer stating that

Decedent purchased Roundup®-branded herbicides from Home Depot, Walmart, and Costco.

Plaintiff’s Responses to Monsanto’s First Set of Interrogatories – Answer to Interrogatory No. 17

(attached to Notice of Removal as Exhibit 5), ECF No. 1-5. That sworn interrogatory answer did

not state that Decedent purchased Roundup®-branded herbicides from Laurel Ace.

       On October 4, 2021, Monsanto timely removed this case based on, inter alia, Plaintiff’s

Answer to Interrogatory No. 17 and declarations regarding Wilbur-Ellis Nutrition/Feed and

Wilbur-Ellis Company. The evidence submitted with the Notice of Removal established that:

(a) Wilbur-Ellis Nutrition/Feed, Wilbur-Ellis Company, and Laurel Ace had no involvement with

or connection to the Roundup®-branded herbicides allegedly used by Decedent; (b) those

defendants should be disregarded as fraudulently joined; and (c) this Court has subject matter

jurisdiction based on complete diversity of citizenship.

        On November 3, 2021, Plaintiff filed the Remand Motion. It does not dispute that she is

(and Decedent was) a California citizen and that Monsanto is a citizen of Missouri and Delaware

for purposes of diversity jurisdiction. The Remand Motion also does not dispute that this removal

was timely or that this lawsuit satisfies the jurisdictional-amount-in-controversy requirement for

this Court to exercise subject matter jurisdiction based on diversity of citizenship.

                                           ARGUMENT

I. Plaintiff Asserts The Same Baseless Arguments Regarding The Wilbur-Ellis Defendants
   And The “John Doe” Defendants That Were Previously Considered And Rejected By
   This Court When Denying Remand Motions In Other Roundup® Lawsuits.

       In other Roundup® lawsuits filed by the same plaintiffs’ counsel who represent Plaintiff in

this case, this Court denied remand motions that made the same arguments regarding Wilbur-Ellis

Company, Wilbur-Ellis Nutrition/Feed, and “John Doe” defendants that Plaintiff asserts here in

the Remand Motion. See In re Roundup Prods. Liab. Litig. (Carson), MDL No. 2741, 2021 WL
                                         3
              MONSANTO’S OPPOSITION TO MOTION TO REMAND HARRIS CASE
                         3:16-md-02741-VC & 3:21-cv-07738-VC
       Case 3:16-md-02741-VC Document 14217 Filed 11/17/21 Page 5 of 12



4314138 (N.D. Cal. Sept. 23, 2021) (“Carson Order”); In re Roundup Prods. Liab. Litig. (Pike),

MDL No. 2741, 2021 WL 4315486 (N.D. Cal. Sept. 22, 2021) (“Pike Order); In re Roundup

Prods. Liab. Litig. (Roybal), MDL No. 2741, 2021 WL 4186714 (N.D. Cal. Sept. 15, 2021)

(“Roybal Order”).2 Nevertheless, the Remand Motion inexplicably asserts the same baseless

arguments, without even acknowledging that this Court recently rejected those arguments in those

three remand-denial rulings.

       Thus, the Court should reject Plaintiff’s arguments and hold that the two Wilbur-Ellis

defendants have been fraudulently joined. As established by the evidence submitted with the

Notice of Removal, Wilbur-Ellis Nutrition/Feed has never manufactured, distributed, or sold

Roundup®-branded herbicides, and the events at issue in this case occurred before that defendant

came into existence (September 2015), so there are two reasons to conclude that Plaintiff

fraudulently joined that defendant. See Roybal Order, 2021 WL 4186714, at *1; see Carson

Order, 2021 WL 4314138, at *1 (citing Roybal Order); Pike Order, 2021 WL 4315486, at *1

(same); see also Notice of Removal ¶ 22 (citing other remand-denial orders involving fraudulent

joinder). Moreover, Plaintiff’s sworn interrogatory answer stated that Decedent purchased

Roundup®-branded herbicides from Home Depot, Walmart, and Costco and does not state that she

purchased those herbicides from Wilbur-Ellis Company. See Notice of Removal ¶ 25. Thus,

Wilbur-Ellis Company has been fraudulently joined. See id. ¶¶ 22, 24-25. The Remand Motion

presents only speculation, without any evidentiary support, that Wilbur-Ellis Company may have

distributed the Roundup®-branded herbicides to which Decedent was exposed, but the same

arguments were made by other plaintiffs and rejected by this Court. See Roybal Order, 2021 WL



2
 Compare Remand Motion at 5-7 with Pike Remand Motion at 3-6, No. 3:20-cv-08192-VC, ECF
No. 6; Roybal Remand Motion at 5-8, No. 3:20-cv-06235-VC, ECF No. 7; Carson Remand
Motion at 5-8, No. 3:20-cv-06238-VC, ECF No. 7.
                                        4
             MONSANTO’S OPPOSITION TO MOTION TO REMAND HARRIS CASE
                        3:16-md-02741-VC & 3:21-cv-07738-VC
       Case 3:16-md-02741-VC Document 14217 Filed 11/17/21 Page 6 of 12



4186714, at *2 (accepting Monsanto’s fraudulent joinder evidence regarding Wilbur-Ellis

Company and stating that plaintiff’s “speculation, without any evidentiary support, is insufficient

to overcome the clear and convincing evidence that Wilbur-Ellis Company did not market or

distribute [plaintiff’s] Roundup”); see also Carson Order, 2021 WL 4314138, at *1 (citing Roybal

Order); Pike Order, 2021 WL 4315486, at *1 (same). Plaintiff does not, and cannot, present any

new evidence or arguments to overcome the hurdles posed by the Roybal Order, the Carson

Order, and the Pike Order, so this Court should reject her arguments regarding Wilbur-Ellis

Company and Wilbur-Ellis Nutrition/Feed.3

        Likewise, Plaintiff’s arguments regarding the John Doe defendants have been presented

to, and rejected by, this Court.4 As this Court has stated repeatedly, “Plaintiff cannot defeat

diversity jurisdiction using Doe defendants. In determining whether an action is diverse for the

purposes of diversity jurisdiction, ‘the citizenship of defendants sued under fictitious names shall

be disregarded.’” Roybal Order, 2021 WL 4186714, at *2 (quoting 28 U.S.C. § 1441(b)(1));

Carson Order, 2021 WL 4314138, at *1 (same); Pike Order, 2021 WL 4315486, at *1 (same).

II. Plaintiff’s Pre-Removal Sworn Interrogatory Answer Shows That Laurel Ace Has Been
    Fraudulently Joined, And Plaintiff Cannot Rely On Her Post-Removal Amended
    Interrogatory Answer To Deprive This Court Of Diversity Jurisdiction.

       Pursuant to well-established removal law, the Notice of Removal pierced the pleadings

and established, based on Plaintiff’s sworn interrogatory answer, that Laurel Ace has been

fraudulently joined because that answer shows that Plaintiff does not have any viable claims




3
  Monsanto incorporates by reference here arguments made by Monsanto in opposition to the
remand motions in Roybal, Carson, and Pike. See, e.g., Monsanto’s Opposition to Plaintiff’s
Motion to Remand, Roybal v. Monsanto Co., No. 20-cv-06235, ECF No. 10.
4
  Compare Remand Motion at 8 with Pike Remand Motion at 10, No. 3:20-cv-08192-VC, ECF
No. 6; Roybal Remand Motion at 8, No. 3:20-cv-06235-VC, ECF No. 7; Carson Remand Motion
at 8, No. 3:20-cv-06238-VC, ECF No. 7.
                                         5
              MONSANTO’S OPPOSITION TO MOTION TO REMAND HARRIS CASE
                         3:16-md-02741-VC & 3:21-cv-07738-VC
       Case 3:16-md-02741-VC Document 14217 Filed 11/17/21 Page 7 of 12



against Laurel Ace. The claims asserted in the Complaint against Laurel Ace are based on an

“information and belief” allegation that it sold Roundup®-branded herbicides to Decedent.

Compl. ¶ 9. However, the sworn interrogatory answer served on Monsanto before it removed this

case says that Decedent bought Roundup®-branded herbicides from different stores and does not

say that she bought these herbicides from Laurel Ace. Plaintiff’s Responses to Monsanto’s First

Set of Interrogatories – Answer to Interrogatory No. 17. This sworn statement established that

Plaintiff does not have viable claims against Laurel Ace. See Notice of Removal ¶¶ 22, 29 (citing

remand-denial rulings issued by this Court and other federal district courts in California).

       Plaintiff makes two arguments in response to Monsanto’s showing that she fraudulently

joined Laurel Ace, but they both lack merit.

       First, Plaintiff claims that the Court can grant the Remand Motion without considering her

amended interrogatory answer (which seeks to wipe out her prior interrogatory answer that was

central to Monsanto’s fraudulent joinder argument), contending that the Court is bound by the

allegations in the Complaint. See Remand Motion at 4. However, that erroneous argument is

contrary to a line of well-established case law that stands for the proposition that a court

evaluating a fraudulent joinder argument is not bound by allegations in a complaint, when a

removing defendant pierces the pleadings by presenting evidence that disputes allegations in a

complaint and shows that the plaintiff does not have viable claims against the fraudulently joined

defendant. See, e.g., Morris v. Princess Cruises, Inc., 236 F.3d 1061, 1068 (9th Cir. 2001);

Ritchey v. Upjohn Drug Co., 139 F.3d 1313, 1318 (9th Cir. 1998); see also Remand Motion at 3

(admitting that courts evaluating fraudulent joinder arguments “may look beyond the pleadings

and consider summary judgment-type evidence”; citing, inter alia, Ritchey, 139 F.3d at 1318).

Consistent with those Ninth Circuit cases, most of this Court’s remand-denial rulings in the

Roundup® litigation have relied on fraudulent joinder evidence in sworn statements that disputed
                                         6
              MONSANTO’S OPPOSITION TO MOTION TO REMAND HARRIS CASE
                         3:16-md-02741-VC & 3:21-cv-07738-VC
       Case 3:16-md-02741-VC Document 14217 Filed 11/17/21 Page 8 of 12



allegations in complaints. See In re Roundup Prods. Liab. Litig. (Salas), MDL No. 2741, 2021

WL 5149862 (N.D. Cal. Nov. 5, 2021); In re Roundup Prods. Liab. Litig. (Carson), MDL No.

2741, 2021 WL 4314138 (N.D. Cal. Sept. 23, 2021); In re Roundup Prods. Liab. Litig. (Pike),

MDL No. 2741, 2021 WL 4315486 (N.D. Cal. Sept. 22, 2021); In re Roundup Prods. Liab. Litig.

(Roybal), MDL No. 2741, 2021 WL 4186714 (N.D. Cal. Sept. 15, 2021); In re Roundup Prods.

Liab. Litig. (Bryant), MDL No. 2741, 2019 WL 6873145 (N.D. Cal. Dec. 16, 2019); see also

Fazio, 2019 WL 6713276 (denying remand motion and accepting Monsanto’s fraudulent joinder

arguments based on sworn statements that disputed allegations in plaintiff’s complaint).

       Thus, when deciding the Remand Motion, this Court cannot simply ignore Plaintiff’s

sworn interrogatory answer that Monsanto properly submitted with its Notice of Removal. That

sworn statement is evidence that pierces the pleadings; contradicts the prior information-and-

belief allegation in the Complaint regarding Laurel Ace; and establishes that Plaintiff does not

have viable claims against Laurel Ace.

       Second, the Court should reject Plaintiff’s effort to manipulate the forum by achieving

remand based on an “amended” interrogatory answer – served weeks after Monsanto removed this

case to this Court – which claims that Decedent purchased Roundup®-branded herbicides from

Laurel Ace. See Remand Motion at 4; Plaintiff’s First Amended Response to Monsanto’s First Set

of Interrogatories – Answer to Interrogatory No. 17 (served November 2, 2021), ECF No. 6-2.

Plaintiff offers no credible explanation for her purported “inadvertent omission” of Laurel Ace in

her initial interrogatory answer, nor could she. She had a full month to confer with counsel and

prepare her responses, and Decedent’s alleged purchase of Roundup®-branded herbicides from

Laurel Ace is not a tangential, readily-explicable forgotten fact – it is the necessary and




                                         7
              MONSANTO’S OPPOSITION TO MOTION TO REMAND HARRIS CASE
                         3:16-md-02741-VC & 3:21-cv-07738-VC
       Case 3:16-md-02741-VC Document 14217 Filed 11/17/21 Page 9 of 12



fundamental fact upon which Plaintiff based her purported claims against Laurel Ace.5

       In another Roundup® lawsuit, a district court rejected a similar attempted forum-

manipulation gambit by a plaintiff who sought remand by submitting a post-removal sworn

statement that tried to change a key fact in his prior sworn statement that gave rise to Monsanto’s

fraudulent joinder removal argument regarding a non-diverse retailer defendant. See Fazio, 2019

WL 6713276, at *3-4. The court held that the post-removal sworn statement “should not be

considered as part of the fraudulent joinder analysis” and denied the remand motion based on the

pre-removal sworn statement. Id.; cf. Lopez v. General Motors Corp., 697 F.2d 1328, 1333 (9th

Cir. 1983) (affirming denial of plaintiff’s motion for reconsideration of summary judgment order

and stating: “We do not take kindly to counsel’s having [plaintiff] attempt, in a declaration in

support of her motion for reconsideration, to repudiate or contradict her sworn deposition

testimony. The declaration created no genuine issue of fact.”); Ram v. Infinity Select Ins., 807 F.

Supp. 2d 843, 855-56 (N.D. Cal. 2011) (granting defendant’s summary judgment motion and

disregarding plaintiff’s sworn statement (a declaration) that contradicted plaintiff’s prior sworn


5
  In considering the viability of Plaintiff’s purported sudden recollection of the essential factual
basis for purported claims against Laurel Ace, this Court also need not “close its eyes to [the]
reality[,] … given the experience the Court has gained throughout the course of this MDL,”
Roundup Prods. Liab. Litig. (Roybal), 2021 WL 4186714, at *2, that purported claims asserted
against retailer defendants to keep Roundup® cases in state court have been consistently dismissed
by plaintiffs before trial. The Donnetta Stephens Roundup® trial started in August 2021 and is
pending in San Bernardino County. Before trial, the plaintiff (represented by the same counsel
who represent Plaintiff in this case) voluntarily dismissed the non-diverse retailer defendant from
that case. Request for Dismissal, Stephens v. Monsanto Co. (filed July 15, 2021) (attached as
Exhibit 1 to accompanying Declaration of Eric Lasker (“Lasker Declaration”)). The Destiny
Clark Roundup® trial started on September 15, 2021 in Los Angeles County and ended with a
defense verdict. Before trial, the plaintiff (represented by the same counsel who represent
Plaintiff here) voluntarily dismissed the non-diverse retailer defendant from that case. Request
for Dismissal, Clark v. Monsanto Co. (filed Sept. 13, 2021) (attached as Exhibit 2 to Lasker
Declaration). In addition, in the Dewayne Johnson Roundup® case that went to trial in the
summer of 2018, the plaintiff voluntarily dismissed Monsanto’s non-diverse co-defendants in
August 2017 (although the clerk did not enter those dismissals until August 2018). Request for
Dismissal, Johnson v. Monsanto Co. (attached as Exhibit 3 to Lasker Declaration).
                                         8
              MONSANTO’S OPPOSITION TO MOTION TO REMAND HARRIS CASE
                         3:16-md-02741-VC & 3:21-cv-07738-VC
      Case 3:16-md-02741-VC Document 14217 Filed 11/17/21 Page 10 of 12



statements (deposition testimony)).

       Moreover, Ninth Circuit cases and other cases protect against this type of post-removal

manipulation of the record to deprive federal courts of jurisdiction. As the Ninth Circuit stated,

“when removal is proper at the outset, federal jurisdiction is not defeated by later changes or

developments in the suit,” Takeda v. Northwestern Nat’l Life Ins. Co., 765 F.2d 815, 819 (9th Cir.

1985) (citing cases), and other cases have made similar statements, see Powerex Corp. v. Reliant

Energy Servs., Inc., 551 U.S. 224, 232 n.1 (2007) (acknowledging “the general rule that

postremoval events do not deprive federal courts of subject-matter jurisdiction”); Williams v.

Costco Wholesale Corp., 471 F.3d 975, 976 (9th Cir. 2006) (reversing remand order and stating

that “[w]e have long held that post-removal amendments to the pleadings cannot affect whether a

case is removable”); Sparta Surgical Corp. v. Nat’l Ass’n of Securities Dealers, Inc., 159 F.3d

1209, 1213 (9th Cir. 1998) (affirming denial of remand motion; disregarding plaintiff’s post-

removal amended complaint and stating that federal subject matter jurisdiction “must be analyzed

on the basis of the pleadings filed at the time of removal without reference to subsequent

amendments”), abrogated on other grounds by Merrill Lynch, Pierce, Fenner & Smith Inc. v.

Manning, 578 U.S. 374 (2016); Moua v. Int’l Bus. Machs. Corp., No. C 10-01070 JW, 2011 WL

7293395, at *3 (N.D. Cal. Apr. 7, 2011) (denying remand motion; stating that “jurisdictional facts

are assessed at the time of removal” and that “post-filing developments do not deprive federal

courts of subject matter jurisdiction”); Molnar v. 1-800-Flowers.com, Inc., No. CV 08-0542 CAS

(JCx), 2009 WL 481618, at *5 (C.D. Cal. Feb. 23, 2009) (disregarding post-removal statement

that plaintiff was not seeking punitive damages and stating “the general rule that ‘postremoval

events do not deprive federal courts of subject-matter jurisdiction’”) (quoting Powerex Corp., 551

U.S. at 232 n.1); Destfino v. Kennedy, No. CV-F-08-1269 LJO DLB, 2008 WL 4826070, at *2

(E.D. Cal. Nov. 6, 2008) (denying remand motion and stating: “[P]ostremoval changes do not
                                        9
             MONSANTO’S OPPOSITION TO MOTION TO REMAND HARRIS CASE
                        3:16-md-02741-VC & 3:21-cv-07738-VC
      Case 3:16-md-02741-VC Document 14217 Filed 11/17/21 Page 11 of 12



oust the Court of jurisdiction. Removability is determined at the time the notice of removal was

filed. If the case was removable at that time, plaintiff cannot thereafter oust the federal court of

jurisdiction by voluntarily changing the case so as to destroy the ground upon which removal was

based.”) (citation omitted); CTS Printex, Inc. v. American Motorists Ins. Co., 639 F. Supp. 1272,

1276 (N.D. Cal. 1986) (“The law is settled that post-removal amendments will not be permitted to

destroy subject matter jurisdiction once it has attached.”) (citing cases).6

       If, as the Ninth Circuit has held, a plaintiff’s post-removal amendment of a complaint does

not affect whether a case was removable, see Williams, 471 F.3d at 976; Sparta Surgical Corp.,

159 F.3d at 1213, then Plaintiff’s post-removal amendment of her interrogatory answer here

should not affect this Court’s ruling regarding whether Monsanto properly removed this case.

After all, “once removal has been perfected[,] [P]laintiff may not manipulate the process to void

the removal.” Shaw v. Dow Brands, Inc., 994 F.2d 364, 368 (7th Cir. 1993), abrogated in part on

other grounds by Meridian Sec. Ins. Co. v. Sadowski, 441 F.3d 536, 540 (7th Cir. 2006).

                                          CONCLUSION

       For the foregoing reasons, the Court should deny the Remand Motion.




6
  Plaintiff’s reliance on the Uribes case is misplaced. See Remand Motion at 4 (citing Uribes v.
BASF Catalysts, LLC, No. 15-CV-02131-LHK, 2015 WL 5093410 (N.D. Cal. Aug. 28, 2015)).
In Uribes, BASF’s notice of removal regarding fraudulent joinder as to the non-diverse defendant
(E.T. Horn) was filed: (a) one week before that wrongful death case was scheduled to go to trial;
(b) two years after the state court had denied E.T. Horn’s summary judgment motion (filed while
the case was a personal injury lawsuit); and (c) after the personal injury trial ended in a mistrial
(because decedent died during that trial). See Uribes, 2015 WL 5093410, at *1-2, 4. When
granting remand, the court rejected BASF’s argument that the plaintiffs’ pre-removal discovery
response showed that the plaintiffs had abandoned their claims against E.T. Horn. See id. at *4-5.
Here, by contrast, the record is very different, and Monsanto’s Notice of Removal was not based
on a theory that Plaintiff had “abandoned” otherwise viable claims against Laurel Ace. Instead,
the Notice of Removal established, based on her sworn statement, that she never had any viable
claims against Laurel Ace because – contrary to the information-and-belief allegation in the
Complaint – Laurel Ace did not sell Roundup®-branded herbicides to Decedent.
                                         10
              MONSANTO’S OPPOSITION TO MOTION TO REMAND HARRIS CASE
                         3:16-md-02741-VC & 3:21-cv-07738-VC
    Case 3:16-md-02741-VC Document 14217 Filed 11/17/21 Page 12 of 12



DATED: November 17, 2021                   Respectfully submitted,


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                                    11
         MONSANTO’S OPPOSITION TO MOTION TO REMAND HARRIS CASE
                    3:16-md-02741-VC & 3:21-cv-07738-VC
